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   UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF VIRGINIA

                                CHARLOTTESVILLE DIVISION


  ELIZABETH SINES, ET AL.,                                     Case No. 3:17-cv-00072-NKM

  Plaintiffs,                                                  Hon. Norman K. Moon
  v.

  JASON KESSLER, ET AL.,

  Defendants.




   DEFENDANT MICHAEL PEINOVICH’S (1) SUPPLEMENTAL MEMORANDUM IN
  FURTHER SUPPORT OF HIS OBJECTIONS TO MAGISTRATE JUDGE’S MARCH 22,
      2018 ORDER AND (2) EMERGENCY MOTION TO REQUIRE REMOVAL OF
    INFLAMMATORY AND PREJUDICIAL VIDEO POSTED BY ROBERTA KAPLAN

         Defendant Michael Peinovich, pro se, respectfully submits the following:              (1) a

  supplemental memorandum in further support of his objections to Magistrate Judge Hoppe’s

  order issued on March 22, 2018 denying Peinovich’s motion to restrain Roberta Kaplan, Esq. and

  Kaplan and Company LLP from improper and unethical extrajudicial statements and for

  sanctions, and (2) an emergency motion to require Ms. Kaplan to remove an inflammatory and

  prejudicial video that she, or persons or entities under her control, posted to the Internet on or

  about June 21, 2018. Ms. Kaplan’s posting of this jury-tainting video after the close of briefing

  in this matter, and -- disrespectfully to the Court -- while a decision from the Court was pending,

  has necessitated this supplemental memorandum and emergency motion.




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                                                 ARGUMENT

         In brief summary, the subject of Peinovich’s objections here encompasses Ms. Kaplan’s

  unethical, multifaceted pretrial publicity campaign and her repeated efforts to undermine the

  rights of the defendants, including Peinovich, to a fair trial in this emotion-laden, controversial

  litigation. Ms. Kaplan’s publicity campaign has included linking the defendants to Nikolas Cruz,

  a mass murderer; invoking the Jewish holiday of Purim to stir up religious antipathy toward the

  defendants; and attributing offensive social media posts by unknown persons to the defendants.

  Among the arguments Ms. Kaplan has proffered to justify her actions are that no ethical rules

  restrain her and that Peinovich has not shown that her publicity maneuvers have any tendency to

  reach the Western District of Virginia. Peinovich’s briefs explain the fallacious nature of these

  arguments. Ms. Kaplan’s outrageous June 21, 2018 video, posted to a Facebook page entitled

  “Now This Politics” (https://www.facebook.com/NowThisPolitics/videos/2114525281912284/)

  and to a similar Twitter account (https://twitter.com/nowthisnews/status/1009496855166705665)

  brings the fallacies of her arguments into even sharper relief and unmasks her true motives.

         As noted in Peinovich’s prior briefs, New York and ABA Ethical Rule 3.6 provide a

  limited safe harbor for pretrial publicity, allowing litigants to state “the claim, offense or defense

  and the identity of the persons involved . . . [and] information contained in the public record.”

  Ms. Kaplan’s June 21, 2018 video makes a mockery of that safe harbor. Plaintiffs’ bogus legal

  theory is that the defendants can be held liable for civil rights conspiracy for “organizing” the

  Charlottesville rally, a rally which was permitted by this Court. Consequently, a critical factual

  issue under plaintiffs’ theory, hotly contested by Peinovich, Spencer, and other defendants, is

  who were the “organizers” of the rally. But Ms. Kaplan in her video has resolved that issue for



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  the public. She states unequivocally that Richard Spencer was an organizer; she even shows a

  video clip of him standing in front of people, pointing to images on a wall. The clip in question

  is from a public press conference held by Mr. Spencer well after August 12, and thus could not

  possibly show Mr. Spencer planning a secret conspiracy, despite the clear implication by Ms.

  Kaplan that this is precisely what it shows. The images Mr. Spencer is pointing to have not been

  admitted into evidence in this case, and have no chance of ever being so admitted. Kaplan also

  lets the public know that other currently contested factual matters are not actually contested,

  simply because she says so: Heather Heyer was murdered; the defendants carefully planned the

  Charlottesville violence;    the defendants, i.e., all of them, including Peinovich and Spencer,

  coordinated what weapons to bring, what uniforms to wear, what commanders to follow, and

  who would be the targets of their “racially motivated violence.” All of these matters are still

  before the Court, but Ms. Kaplan intentionally obscures this fact for the public, presenting her

  side of things as indisputable truth for which she is seeking just retribution.

         Ms. Kaplan’s presentation is done against a background of sombre, spooky music and is

  interspersed with scenes of hooded klansmen marching and burning crosses. Featured

  prominently are shots of a man holding a Nazi swastika flag, yet this unnamed person is not a

  defendant in this case and there is no allegation of any connection between this man and any

  defendants. All of this is meant to lead the viewer to only one possible conclusion: her client’s

  claims are 100% valid;       the KKK Act prohibits exactly the kind of “conspiracy” that the

  defendants engaged in; the defendants are evil, hateful, guilty people. It bears emphasis in this

  regard that New York Rule 3.6 states: “A statement ordinarily is likely to prejudice materially an

  adjudicative proceeding when it refers to a civil matter triable to a jury . . . and it relates to: (1)



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  the character, credibility, [or] reputation of a party . . . or the identity of a witness or the expected

  testimony of a party or witness . . . (5) information the lawyer knows or reasonably should know

  is likely to be inadmissible at trial and would, if disclosed, create a substantial risk of prejudicing

  an impartial trial.”   Ms. Kaplan’s video is hugely prejudicial by this standard or any other

  reasonable standard.

          To demonstrate that the video’s prejudicial effect is not merely theoretical, here is a small

  sample, in no particular order, of public comments left by Facebook and Twitter users after

  viewing it.




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         There are hundreds of other similar comments attached to the video. The vitriol of these

  comments, some of them calling for violence against the defendants, shows the poisonous effect

  it has, and will continue to have, on the public mood if it is allowed to remain. While these

  individuals are certainly free to express their opinions on Facebook and Twitter, no matter how

  distasteful or unhinged they might be, basic fairness would require that anyone who has made

  such comments be removed from a pool of potential jurors. Accordingly, the damage done to the

  jury pool by Ms. Kaplan’s video is not speculative, it is a fait accompli. As of the date of this

  filing, neither Ms. Kaplan, nor any staff of Kaplan & Company LLP, nor any staff of “Now This

  Politics” have intervened to remove the violent content and threats associated with this video.

         Notably some of the above commenters have taken at face value Ms. Kaplan’s claim that

  a meeting at Trump Tower was held in order to plan violence, when no facts that would lend

  weight to this bare allegation have ever been presented. Kaplan’s motives are made clear by the


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  prominent inclusion of this allegation in her propaganda video. Kaplan is a well known and vocal

  anti-Trump activist. She clearly intends to establish a “guilt by association” link in the minds of

  her viewers between President Trump and the defendants in this case, who she smears as violent

  Nazi terrorists, thus accomplishing two political goals at once with this bad faith SLAPP lawsuit.

          The video also shows the fallacy of Ms. Kaplan’s contention that her publicity campaign

  does not reach the Western District of Virginia. Within one day of being posted to Facebook, Ms.

  Kaplan’s latest video outrage has been seen by over 500,000 viewers and shared by roughly

  8,000 Facebook users. If not immediately removed, as it must be, that number will grow into the

  millions. Basic math dictates that at the very least tens of thousands of those viewers are

  residents of Western Virginia. Propaganda of this sort need not be directed exclusively at

  residents of Western Virginia in order for it to have the desired effect on them.

          The logical conclusion of Ms. Kaplan’s video is that she believes she is not subject to

  Rule 3.6, to any restrictions on her pretrial publicity campaign, or to any standards of ethical

  conduct whatsoever. This video is not only prejudicial to defendants, it is disrespectful to this

  Court, which Kaplan treats flippantly as merely a vehicle for her personal political agenda. As

  explained in Peinovich’s earlier briefs, this Court has the inherent power to correct abuses by

  attorneys who appear before it. Ms. Kaplan must be reigned in or she will continue with her

  poisonous publicity war, ruining any chance defendants have of a fair trial.

          Accordingly, Peinovich respectfully moves for an order from the Court requiring Ms.

  Kaplan to immediately remove the June 21, 2018 video and refrain from further violations of the

  ethical restrictions to which attorneys are subject as to pretrial publicity.




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                                               CONCLUSION

           For the reasons stated, Peinovich respectfully requests that the Magistrate’s March 22,

  2018 order be reversed, that Ms. Kaplan be instructed to cease her unethical and prejudicial

  extrajudicial statements as manifested by her actions described in Peinovich’s initial motion and

  reply memorandum; and that Ms. Kaplan be ordered to remove immediately her June 21, 2018

  video.



  Dated: June 23, 2018.


                                                                Respectfully submitted,




                                                                Michael Peinovich, Pro Se




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                                  CERTIFICATE OF SERVICE

         On this 23rd day of June, 2018, I Michael Peinovich certify that I served electronically or

  mailed copies of this objection and memorandum to:



  Christopher Greene <cgreene@kaplanandcompany.com>,
  David Campbell <DCampbell@dhgclaw.com>,
  Elmer Woodard <isuecrooks@comcast.net>,
  James Kolenich <jek318@gmail.com>,
  Bryan Jones <bryan@bjoneslegal.com>,
  Roberta Kaplan <rkaplan@kaplanandcompany.com>,
  Julie Fink <jfink@kaplanandcompany.com>,
  Gabrielle Tenzer <gtenzer@kaplanandcompany.com>,
  Seguin Strohmeier <sstrohmeier@kaplanandcompany.com>,
  Alan Levince <alevine@cooley.com>,
  Karen Dunn <KDunn@bsfllp.com>,
  Philip Bowman <pbowman@bsfllp.com>,
  John DiNucci <dinuccilaw@outlook.com>,
  David Mills <dmills@cooley.com>,
  Joshua Libling <jlibling@bsfllp.com>




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                                                              Michael Peinovich




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